                                         32 Filed 01/13/21
         Case 1:20-cv-02082-GWG Document 33       01/12/21 Page 1 of 1




                                                     January 12, 2021
                                             MEMORANDUM ENDORSEMENT
VIA ECF                                               The conference scheduled for January 15, 2021 is
                                                      adjourned sine die. The parties shall report on the
Honorable Gabriel W. Gorenstein                       status of this matter by letter filed on ECF on or
United States Magistrate Judge                        before February 16, 2021.
United States District Court
Southern District of New York                         So Ordered.
500 Pearl Street
New York, New York 10007

       Re:     Caceres v. Tawh, Inc. et al.
                                                        January 12, 2021
               Case No.: 20-cv-02082 (LJL)

Dear Magistrate Judge Gorenstein:

       I am counsel to Defendants TAWH, Inc. (d/b/a Total Automotive Warehouse, Inc.),
William Goldkranz and Jerry Goldkranz (collectively referred to as the “Defendants”) in the
above-referenced case.

       I write to respectfully request a stay of the Initial Conference scheduled before Your Honor
on January 15, 2021 at 3 PM. At this time, the parties are working together to resolve this action
without further Court intervention. The parties request until February 15, 2021 to file the necessary
settlement paperwork. If the parties are not prepared to file the settlement paperwork by February
15, 2021, we will contact the Court to request a new date for an Initial Conference with Your
Honor. This is the first request for an adjournment of the Initial Conference.

       This request is made with the consent of Plaintiff’s counsel.

       Thank you for your consideration of this request.

                                                     Respectfully submitted,

                                                     Guy M. Allen

                                                      Guy M. Allen
cc: All attorneys of record (By ECF)




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